                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 CHARLES G. COPELAND, an individual; §
 AND COFOUR, LLC, a limited liability §
 company                              §
                                      §
                                      §
           Plaintiff,                 §
 v.                                   §
                                      § CIVIL ACTION NO. 4:20-CV-00393-
                                      § SDJ-CAN
 ALAMO BILLING COMPANY AND            §
 MANAMED, INC.,                       §
                                      §
                                      §
           Defendants.                §



                     PLAINTIFFS’ SECOND AMENDED COMPLAINT

       COMES NOW Charles G. Copeland and CoFour, LLC (“Plaintiffs”), and file this, their

Second Amended Petition, complaining of Alamo Billing Company and ManaMed, Inc.

(collectively, “Defendants”), and for cause of action would respectfully show the Court as follows:

                                                 I.

                                              PARTIES

       1.      Plaintiff CoFour, LLC (“CoFour”) is a Texas limited liability company doing

business in Collin County, Texas.

       2.      Plaintiff Charles G. Copeland is an individual residing in Collin County, Texas and

is the Manager and sole Member of CoFour, LLC.

       3.      Defendant Alamo Billing Company (“Alamo”) is a business located in Tampa,

Florida and has been served with citation in this matter.




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       4.      Defendant ManaMed, Inc. (“ManaMed”) is a business located in Las Vegas,

Nevada and has filed an answer in this matter.

                                                 II.

                                  JURISDICTION AND VENUE

       5.      Defendants removed the case to this Court from the 471st Judicial District Court of

Collin County, Texas on May 13, 2020. Defendants assert that this Court has jurisdiction over this

suit under 28 U.S.C.§1332(a)(1) based on diversity jurisdiction.

       6.      Venue is proper in the Eastern District of Texas, Sherman Division under §1441(a)

and (b) because the state court where the suit had been pending is located in this District.

                                                 III.

                                   FACTUAL BACKGROUND

       7.      Plaintiff CoFour entered into a contract (the “Agreement”) with Alamo Billing

Company (“Alamo”) in the fall of 2018 for billing services and collections. Alamo stated that it

had in-network contracts by which it would collect on 70% of claims submitted within 60-90 days

of Plaintiff forwarding the claims to Alamo. Further, Alamo stated in the Agreement that Plaintiff

would receive real-time claims access via Alamo's on-line portal regarding its claims and the status

of the claims process.

       8.      To date, Plaintiffs have submitted close to $2 million in clean claims to Alamo, of

which Alamo previously advised that it had only collected approximately $350,000 (17%). In

addition, Alamo has never consistently provided clear visibility into its submitted claims. Plaintiffs

submitted clean billable claims and requested multiple times via email and conference calls with

Alamo’s executive team, as well as ManaMed’s executive team for reporting and updates

regarding its claim payments. In response, Alamo and ManaMed provided half-truths, as well as

false and incomplete information regarding the status of the claims.

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        9.       Then, in April 2019, Plaintiffs stopped receiving communications from Alamo

regarding their collections efforts. In sum, Alamo then went silent regarding its work for Plaintiffs

and all of their billed claims. Plaintiffs called, emailed and texted Alamo, and even called

ManaMed executive personnel for help in obtaining information, but received misleading and

untrue information in response.

        10.      On October 24, 2019, Plaintiffs received an email from Theresa Morgan from Acc

U Data stating she had received money from collections that is due to Plaintiffs. At this time,

Plaintiffs were unaware of Acc U Data and why Acc U Data had funds belonging to Plaintiffs.

After researching and talking with the CEO of Acc U Data, Rajiv Shah, it was discovered that Acc

U Data was actually performing the billing services owed by Alamo to Plaintiffs. Further, Plaintiffs

learned from Mr. Shah that it was his understanding that some of the same people who owned

ManaMed also owned Alamo. None of these facts had ever been disclosed by Alamo/ManaMed

to Plaintiffs.

        11.      Plaintiffs went to visit Mr. Shah at his Acc U Data office in Florida in an effort to

obtain more information regarding the status of the claims submitted to Alamo. It was learned at

that time, there were more than 300 open claims outstanding and more than 200 claims that had

been denied. None of this information had been disclosed to Plaintiffs by Alamo. It was then

decided on November 6th, 2019 by Mr. Shah and by Plaintiffs that the 500 plus claims should be

re-submitted immediately. The 500 plus claims were billed on or before November 8th, 2019. Mr.

Shah agreed to provide immediate updates on the claims going forward.

        12.      On November 26th, 2019 Mr. Shah notified Plaintiffs that his access to Co-Four’s

claims had been removed by Alamo and that his contract had been terminated. He also stated again

that he believed Alamo was actually owned by some of the same people who owned ManaMed



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and that both Alamo and ManaMed were stealing from Acc U Data and Plaintiffs. To date,

Plaintiffs still have received no information from Alamo or ManaMed regarding aforementioned

500 plus claims submitted. It also was brought to Plaintiffs’ attention that the claims were being

billed under a contract identified as Texas Artificial Limb and Lab (“TALL”) based out of El Paso.

       13.     Plaintiffs only recently learned that Alamo and/or ManaMed has recently received

more than $2 million dollars in collections and that the majority of those collections relate to the

claims. Based on the information received by Plaintiffs, the total outstanding to Plaintiffs is

approximately $1 million dollars.

                                                IV.

                                      CAUSES OF ACTION

A.     BREACH OF CONTRACT, FRAUD, THEFT AND UNJUST ENRICHMENT
       AGAINST ALAMO

       14.     The facts set forth above are incorporated by reference as if fully set forth herein.

       15.     Plaintiff CoFour performed its obligations and all conditions precedent under the

Agreement by submitting over 500 clean, billable claims to Alamo.

       16.     Alamo breached the terms of the contract at issue by failing to make the payments

for the claims as set forth in the Agreement. Alamo intentionally defrauded and stole money from

Plaintiffs and intentionally paid money to ManaMed that was owed to Plaintiffs. Alamo was

unjustly enriched by, and unlawfully benefitted from, doing so as a result of common owners

between Alamo and ManaMed.

       17.     Plaintiff CoFour has declared the balance of the Agreement as due and owing. After

giving credit for all offsets, payments and refunds allowable, there is due and owing on the

Agreement the sum of approximately $1,000,000.00 together with interest thereon at the rate as

allowed by the contract and/or by law until paid in full.


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B.     TORTIOUS INTERFERENCE WITH CONTRACT AND FRAUD AGAINST
       MANAMED


       18.     The facts set forth above are incorporated by reference as if fully set forth herein.

       19.     Defendant ManaMed has tortuously interfered with the Agreement. As described

above, ManaMed had actual knowledge of the Agreement and Defendant’s relationship with

Alamo, as some or all of the people who own ManaMed also own and control Alamo.

       20.     ManaMed, as described above, willfully and intentionally interfered with the

Agreement, and committed fraud, by interfering with Alamo’s processing of the 500-plus clean

and billable claims submitted by Plaintiff.

       21.     ManaMed further interfered with the Agreement by hiding the identity of the

company actually processing the claim and by improperly taking money owed to both Plaintiffs

and other companies for processing the claims as described above.

       22.     As a result, Plaintiffs have suffered damaged relationships and financial loss

because Plaintiffs have not recovered the money Plaintiffs are due from the 500-plus clean and

billable claims submitted by Plaintiffs.

       23.     As a result of ManaMed’s willful and intentional tortious interference, Plaintiffs

are entitled to recover their actual and consequential damages, as well as exemplary damages.


                                                IV.

                                       ATTORNEY’S FEES

       24.     Plaintiffs ask for their attorney’s fees and costs from Defendants pursuant to the

terms of the contract and as allowed by law. In this regard Plaintiffs will show the amount of

reasonable attorney’s fees incurred.




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                                                 V.

                                              PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray for the following:

a.     Defendants be cited to appear and answer this Petition;

b.     Judgment of and from Defendants in the sum of $1,000,000, plus attorneys’ fees, costs and

       expenses of this cause of action, together with interest thereon at the rate allowed by the

       contract and/or by applicable law jointly and severally from Defendants, until paid in full;

c.     Reasonable attorneys’ fees incurred in this matter; and

d.     All costs of suit, and for all such other and further relief, both general and special, at law

       or in equity, to which it may be justly entitled.


                                              Respectfully submitted,

                                              /s/ Jennifer M. Wade
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                                  CERTIFICATE OF SERVICE

          This is to certify that a true and correct copy of the above and foregoing document was
filed with the Clerk of the Court on November 5 2020, and that a true and correct copy of the
document was served on counsel of record for all parties by electronic mail and/or by electronic
service via ECF on November 5, 2020.



                                              /s/ Jennifer M. Wade
                                              JENNIFER M. WADE




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